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                             UNITED STATES DISTRICT COURT
 9
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                               November 2021 Grand Jury
11
     UNITED STATES OF AMERICA,               CR     2:22-cr-00041-JAK
12
               Plaintiff,                    I N D I C T M E N T
13
                     v.                      [18 U.S.C. § 1349: Conspiracy to
14                                           Commit Bank Fraud; 18 U.S.C.
     HOVHANNES NAZARYAN,                     § 1344(2): Bank Fraud; 18 U.S.C.
15     aka “Hovo,”                           § 982 and 28 U.S.C. § 2461(c):
       aka “John,” and                       Criminal Forfeiture]
16   ARTUR NAZARYAN,

17             Defendants.

18

19        The Grand Jury charges:

20                                     COUNT ONE

21                                [18 U.S.C. § 1349]

22                                 [ALL DEFENDANTS]

23   A.   INTRODUCTORY ALLEGATIONS

24        At times relevant to this Indictment:

25        1.   Defendants HOVHANNES NAZARYAN, also known as (“aka”)

26   “Hovo,” aka “John” (“H. NAZARYAN”) and ARTUR NAZARYAN (“A. NAZARYAN”)

27   were residents of Los Angeles County, California.

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 1        2.   Bank of the West (“BOTW”) and Capital One Bank (USA), N.A.

 2   (“Capital One”) were financial institutions whose deposits were

 3   insured by the Federal Deposit Insurance Corporation.

 4        3.   A “bust out” was a fraudulent scheme perpetrated against

 5   credit card issuers that operated as follows:         The perpetrator would

 6   obtain a credit card account in the name of another person, intending

 7   to incur charges and receive advances that the perpetrator would not

 8   pay in full and to avoid accountability because the account had been

 9   opened in a third party’s name.       Initially, the perpetrator would

10   make on-time payments on charges incurred in order to maintain and/or

11   increase the credit limit on the account.        The perpetrator would then

12   incur charges up to or near the authorized limit without any

13   intention or paying the charges incurred.        Instead, the perpetrator

14   would submit an insufficient funds check or other fraudulent payment

15   to the credit card issuer, knowing that the posting of the purported

16   payment would facilitate the perpetrator’s ability to incur further

17   charges and obtain advances.      The perpetrator would then incur

18   additional charges, again up to or near the credit limit, before the

19   credit card issuer discovered that the posted payment was fraudulent.

20   The perpetrator would not pay the balance owed on the account,

21   leaving the third-party accountholder accountable instead of the

22   perpetrator.

23   B.   OBJECT OF THE CONSPIRACY

24        4.   Beginning no later than in or around May 2013, and
25   continuing through at least in or around December 2016, in Los
26   Angeles County, within the Central District of California, and
27   elsewhere, defendants H. NAZARYAN and A. NAZARYAN conspired with one
28   another and with others known and unknown to the Grand Jury to commit
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 1   bank fraud, in violation of Title 18, United States Code, Section

 2   1344(2), which conspiracy affected federally-insured financial

 3   institutions.

 4   C.   THE MANNER AND MEANS OF THE CONSPIRACY

 5        5.     The object of the conspiracy was carried out, and was to be
 6   carried out, in substance, as follows:
 7               a.    Defendants H. NAZARYAN and A. NAZARYAN, together with
 8   others known and unknown to the Grand Jury, would obtain and possess
 9   names, dates of birth, social security numbers, and other personal
10   identifying information belonging to real people.
11               b.    Defendants H. NAZARYAN and A. NAZARYAN would obtain
12   and use a bank account at BOTW ending in 3433, which was held in the
13   name of an altered version of a real person’s name (the “fraudulent
14   BOTW bank account”).     In doing so, defendants H. NAZARYAN and
15   A. NAZARYAN would falsely represent to BOTW that they were the
16   account holder.
17               c.    Defendants H. NAZARYAN and A. NAZARYAN would obtain
18   and use credit card accounts issued by Capital One (“fraudulent
19   credit card accounts”).     In doing so, defendants H. NAZARYAN and
20   A. NAZARYAN would falsely represent, promise, and maintain the
21   pretense that they intended to make payments to the issuing financial
22   institution for the charges incurred on the fraudulent credit card
23   accounts.
24               d.    In furtherance of their scheme to bust out the
25   accounts, defendants H. NAZARYAN and A. NAZARYAN would obtain cash
26   advances from the fraudulent credit card accounts, including as
27   follows:
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 1                   i.    Defendant H. NAZARYAN would use the Capital One

 2   credit cards connected to the fraudulent credit card accounts to

 3   withdraw cash at BOTW.     In doing so, defendant H. NAZARYAN would

 4   falsely represent and maintain the pretense to Capital One and BOTW

 5   that he was the account holder and an authorized user of the

 6   fraudulent credit card accounts.

 7                   ii.   Defendant A. NAZARYAN would use the fraudulent

 8   credit card accounts to obtain cash advance checks from Capital One

 9   made out to the account holder.       In doing so, defendant A. NAZARYAN

10   would falsely represent, promise, and maintain the pretense to

11   Capital One that he was the person named on the checks, namely, the

12   Capital One credit card account holder, and that he would pay the

13   balance accrued on the credit cards, including the cash advances.

14                   iii. After fraudulently obtaining the cash advance

15   checks from Capital One, defendant A. NAZARYAN would deposit the

16   checks into the fraudulent BOTW bank account.         In doing so, defendant

17   A. NAZARYAN would falsely represent and maintain the pretense to BOTW

18   that he was an authorized user of the fraudulent BOTW bank account.

19   Once the cash advance checks were deposited, defendants H. NAZARYAN

20   and A. NAZARYAN would withdraw the proceeds of the cash advance

21   checks from the fraudulent BOTW bank account.         In doing so,

22   defendants H. NAZARYAN and A. NAZARYAN would falsely represent to

23   BOTW that they were authorized users of the fraudulent BOTW bank

24   account.

25              e.   After using the fraudulent credit card accounts to

26   obtain cash advances and other goods and services, defendants

27   A. NAZARYAN and H. NAZARYAN would submit and cause to be submitted a

28   fraudulent payment or multiple fraudulent payments to Capital One in
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 1   order to purportedly pay down the balances on the cards.           After

 2   Capital One posted the fraudulent payments to the fraudulent credit

 3   card accounts – and thus, restored the credit lines – but before

 4   Capital One discovered that the payments were fraudulent, defendants

 5   H. NAZARYAN and A. NAZARYAN would make, and cause others to make,

 6   additional charges to the fraudulent credit card accounts, in amounts

 7   near, at, or exceeding the maximum credit limits for such accounts.

 8             f.      Defendants H. NAZARYAN and A. NAZARYAN would stop

 9   making payments on the fraudulent credit card accounts.

10   D.   OVERT ACTS

11        6.   On or about the following dates, in furtherance of the
12   conspiracy, and to accomplish the object of the conspiracy,
13   defendants H. NAZARYAN and A. NAZARYAN, and others known and unknown
14   to the Grand Jury, committed and caused to be committed various overt
15   acts, within the Central District of California, and elsewhere,
16   including, but not limited to, the following:
17        Overt Act No. 1:       On January 21, 2015, defendant H. NAZARYAN
18   fraudulently used a Capital One credit card issued in the name of
19   another and ending in 1661 (“Capital One 1661 card”) to obtain a
20   $5,000 cash advance at BOTW in Burbank, California.
21        Overt Act No. 2:       On January 21, 2015, defendant H. NAZARYAN
22   fraudulently used a Capital One credit card issued in the name of
23   another and ending in 6091 (“Capital One 6091 card”) to obtain a
24   $5,000 cash advance at BOTW in Burbank, California.
25        Overt Act No. 3:       On January 22, 2015, defendant H. NAZARYAN
26   fraudulently used the Capital One 6091 card to obtain a $4,500 cash
27   advance at BOTW in Burbank, California.
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 1        Overt Act No. 4:       On January 23, 2015, defendant H. NAZARYAN

 2   fraudulently used the Capital One 1661 card to obtain a $2,500 cash

 3   advance at BOTW in Burbank, California.

 4        Overt Act No. 5:       On February 24, 2015, defendant H. NAZARYAN

 5   deposited $100 into the fraudulent BOTW bank account at BOTW in
 6   Burbank, California.
 7        Overt Act No. 6:       On February 26, 2015, defendant A. NAZARYAN
 8   deposited a cash advance check drawn against the Capital One 1661
 9   card and in the amount of $10,000, into the fraudulent BOTW bank
10   account at BOTW in Burbank, California.
11        Overt Act No. 7:       On February 26, 2015, defendant A. NAZARYAN
12   deposited a cash advance check drawn against the Capital One 6091
13   card and in the amount of $10,000, into the fraudulent BOTW bank
14   account at BOTW in Burbank, California.
15        Overt Act No. 8:       On February 27, 2015, defendant H. NAZARYAN
16   withdrew $10,000 in cash from the fraudulent BOTW bank account at
17   BOTW in Burbank, California.
18        Overt Act No. 9:       On March 4, 2015, defendant A. NAZARYAN
19   withdrew $10,000 in cash from the fraudulent BOTW bank account at
20   BOTW in Burbank, California.
21        Overt Act No. 10:      On April 14, 2016, in Sun Valley, Newhall,
22   and Glendale, California, defendants H. NAZARYAN and A. NAZARYAN
23   possessed hundreds of credit cards, identification documents, and
24   other documents containing personal identifying information, in names
25   other than their own, including personal documents belonging to the
26   individual in whose name the Capital One 6091 and 1661 cards were
27   opened, as well as a copy of a forged driver’s license bearing the
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 1   same individual’s birthdate and an altered version of her name used

 2   to open the fraudulent BOTW bank account.

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 1                             COUNTS TWO THROUGH NINE

 2                       [18 U.S.C. §§ 1344(2), 2(a), 2(b)]

 3        7.    The Grand Jury realleges paragraphs 1-3 and 5 of this

 4   Indictment here.

 5   A.   THE SCHEME TO DEFRAUD

 6        8.    Beginning no later than in or around May 2013, and
 7   continuing through at least in or around December 2016, in Los
 8   Angeles County, within the Central District of California, and
 9   elsewhere, defendants H. NAZARYAN and A. NAZARYAN, and others known
10   and unknown to the Grand Jury, each aiding and abetting the other,
11   knowingly and with intent to defraud, devised, participated in, and
12   executed a scheme to obtain money, funds, credits, assets, and other
13   property owned by, and under the custody and control of federally-
14   insured financial institutions, including BOTW and Capital One, by
15   means of material false and fraudulent pretenses, representations,
16   and promises, and the concealment of material facts.
17        9.    The fraudulent scheme operated and was carried out, in
18   substance, as set forth in paragraph 5 of this Indictment.
19   B.   EXECUTIONS OF THE FRAUDULENT SCHEME
20        10.   On or about the following dates, in Los Angeles County,
21   within the Central District of California, and elsewhere, defendants
22   H. NAZARYAN and A. NAZARYAN, together with others known and unknown
23   to the Grand Jury, each aiding and abetting the other, committed,
24   willfully caused others to commit, the following acts, each of which
25   constituted an execution of the fraudulent scheme:
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 1   COUNT   DEFENDANT      DATE         ACT
 2   TWO     H. NAZARYAN    01/21/2015 Use of the Capital One 1661 card to
                                       obtain a cash advance in the amount
 3                                     of $5,000 at a BOTW branch in
                                       Burbank, California.
 4
     THREE   H. NAZARYAN    01/21/2015 Use of the Capital One 6091 card to
 5                                     obtain a cash advance in the amount
                                       of $5,000 at a BOTW branch in
 6                                     Burbank, California.
 7   FOUR    H. NAZARYAN    01/22/2015 Use of the Capital One 6091 card to
                                       obtain a cash advance in the amount
 8                                     of $4,500 at a BOTW branch in
                                       Burbank, California.
 9
     FIVE    H. NAZARYAN    01/23/2015 Use of the Capital One 1661 card to
10                                     obtain a cash advance in the amount
                                       of $2,500 at a BOTW branch in
11                                     Burbank, California.
12   SIX     A. NAZARYAN    02/26/2015 Deposit of check 1639 issued by
                                       Capital One in the amount $10,000
13                                     into the fraudulent BOTW account in
                                       Burbank, California.
14
     SEVEN   A. NAZARYAN    02/26/2015 Deposit of check 1659 issued by
15                                     Capital One in the amount $10,000
                                       into the fraudulent BOTW account in
16                                     Burbank, California.
17   EIGHT   H. NAZARYAN    02/27/2015 Withdrawal of $10,000 in cash from
                                       the fraudulent BOTW account in
18                                     Burbank, California.
19   NINE    A. NAZARYAN    03/04/2015 Withdrawal of $10,000 in cash from
                                       the fraudulent BOTW account in
20                                     Burbank, California.
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 1                              FORFEITURE ALLEGATION

 2                    [18 U.S.C. § 982; 28 U.S.C. § 2461(c)]

 3        11.   Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 982(a)(2), and Title 28, United States

 7   Code, Section 2461(c), in the event of any defendant’s conviction of

 8   the offenses set forth in any of Counts One through Nine of this

 9   Indictment.

10        12.   Any defendant so convicted shall forfeit to the United

11   States of America the following:

12              (a) All right, title and interest in any and all property,

13   real or personal, constituting, or derived from, any proceeds

14   obtained, directly or indirectly, as a result of the offense; and

15              (b) To the extent such property is not available for

16   forfeiture, a sum of money equal to the total value of the property

17   described in subparagraph (a).

18        13.   Pursuant to Title 21, United States Code, Section 853(p),

19   as incorporated by Title 18, United States Code, Section 982(b), any

20   defendant so convicted shall forfeit substitute property, up to the

21   total value of the property described in the preceding paragraph if,

22   as the result of any act or omission of said defendant, the property

23   described in the preceding paragraph, or any portion thereof:

24   (a) cannot be located upon the exercise of due diligence; (b) has

25   been transferred, sold to or deposited with a third party; (c) has

26   //

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 1   been placed beyond the jurisdiction of the court; (d) has been

 2   substantially diminished in value; or (e) has been commingled with

 3   other property that cannot be divided without difficulty.

 4

 5                                            A TRUE BILL
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                                              6
 7                                            Foreperson
 8

 9   TRACY L. WILKISON
     United States Attorney
10

11

12
     SCOTT M. GARRINGER
13   Assistant United States Attorney
     Chief, Criminal Division
14
     RANEE A. KATZENSTEIN
15   Assistant United States Attorney
     Chief, Major Frauds Section
16
     POONAM G. KUMAR
17   Assistant United States Attorney
     Deputy Chief, Major Frauds
18   Section

19   DAVID H. CHAO
     Assistant United States Attorney
20   Major Frauds Section

21

22

23

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